Case 2:15-cv-04424-AG-AJW Document 469 Filed 12/12/17 Page 1 of 4 Page ID #:20306




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  14                      UNITED STATES DISTRICT COURT

  15                    CENTRAL DISTRICT OF CALIFORNIA

  16
        ATEN INTERNATIONAL, CO. LTD. No. 2:15-cv-04424-AJG-AJW
  17
  18                        Plaintiff,         JUDGMENT
  19        vs.
  20
        UNICLASS TECHNOLOGY CO.,             Hon. Andrew J. Guilford
  21
        LTD., et al.
  22
                     Defendants.
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Case 2:15-cv-04424-AG-AJW Document 469 Filed 12/12/17 Page 2 of 4 Page ID #:20307




    1         This action came before the Court for trial by jury beginning September
    2   19, 2017 before a duly impaneled and sworn jury. The parties to the action are
    3   plaintiff ATEN International Co., Ltd. (“ATEN”) and defendants Uniclass
    4   Technology Co., Ltd. (“Uniclass”), Electronic Technology Co., Ltd. of
    5   Dongguan Uniclass, Airlink 101, Phoebe Micro Inc., Broadtech International
    6   Co., Ltd. D/B/A Linkskey, Black Box Corporation, and Black Box Corporation
    7   of Pennsylvania (the “Other Defendants”) (collectively, “Defendants”). The
    8   issues have been tried, and the jury rendered a verdict on October 4, 2017. The
    9   verdict was accepted by the Court and filed by the Clerk. (Dkt. 457.)
  10          Therefore, pursuant to Rule 58 of the Federal Rules of Civil Procedure,
  11    JUDGMENT is hereby entered in this matter as follows:
  12          IT IS ORDERED AND ADJUDGED that judgment be and is hereby
  13    entered in favor of Defendants and against ATEN of a finding of
  14    noninfringement with respect to direct and literal infringement and infringement
  15    under the doctrine of equivalents of claims 1-20 of U.S. Patent No. 7,640,289
  16    (“the ’289 patent”).
  17          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
  18    hereby entered in favor of Defendants and against ATEN of a finding of
  19    noninfringement with respect to indirect infringement of claims 1-20 of the ’289
  20    patent.
  21          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
  22    hereby entered in favor of Defendants and against ATEN of a finding of
  23    noninfringement with respect to willful infringement of claims 1-20 of the ’289
  24    patent.
  25          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
  26    hereby entered in favor of Defendants and against ATEN of a finding of
  27    noninfringement with respect to direct and literal infringement and infringement
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Case 2:15-cv-04424-AG-AJW Document 469 Filed 12/12/17 Page 3 of 4 Page ID #:20308




    1   under the doctrine of equivalents of claim 5 of U.S. Patent No. 6,957,287 (“the
    2   ’287 patent”).
    3         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
    4   hereby entered in favor of Defendants and against ATEN of a finding of
    5   noninfringement with respect to indirect infringement of claim 5 the ’287 patent.
    6         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
    7   hereby entered in favor of Defendants and against ATEN of a finding of
    8   noninfringement with respect to willful infringement of claim 5 the ’287 patent.
    9         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
  10    hereby entered in favor of Defendants and against ATEN of a finding of
  11    noninfringement with respect to direct and literal infringement and infringement
  12    under the doctrine of equivalents of claims 1, 3, and 4 of U.S. Patent No.
  13    7,472,217 (“the ’217 patent”).
  14          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
  15    hereby entered in favor of Defendants and against ATEN of a finding of
  16    noninfringement with respect to indirect infringement of claims 1, 3, and 4 of the
  17    ’217 patent.
  18          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
  19    hereby entered in favor of Defendants and against ATEN of a finding of
  20    noninfringement with respect to willful infringement of claims 1, 3, and 4 of the
  21    ’217 patent.
  22          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
  23    hereby entered in favor of Defendants and against ATEN of a finding of
  24    noninfringement with respect to direct and literal and infringement under the
  25    doctrine of equivalents infringement of claims 3, 8, and 10 of U.S. Patent No.
  26    8,589,141 (“the ’141 patent”).
  27          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
  28    hereby entered in favor of Defendants and against ATEN of a finding of


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Case 2:15-cv-04424-AG-AJW Document 469 Filed 12/12/17 Page 4 of 4 Page ID #:20309




    1   noninfringement with respect to indirect infringement of claims 3, 8, and 10 of
    2   the ’141 patent.
    3         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
    4   hereby entered in favor of Defendants and against ATEN of a finding of
    5   noninfringement with respect to willful infringement of claims 3, 8, and 10 of the
    6   ’141 patent.
    7         IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
    8   hereby entered in favor of Defendants and against ATEN that Defendants did
    9   prove invalidity of claims 1, 3, and 4 of the ’217 patent based upon obviousness.
  10          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
  11    hereby entered in favor of Defendants and against ATEN that Defendants did
  12    prove invalidity of claims 3, 8, and 10 of the ’141 patent based upon anticipation.
  13          IT IS FURTHER ORDERED AND ADJUDGED that judgment be and is
  14    hereby entered in favor of Defendants and that Defendants do not owe any
  15    damages to ATEN.
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  17          IT IS SO ORDERED.
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  20    Dated: December 12, 2017
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  23                                    _______________________________________
                                        Hon. Andrew J. Guilford
  24                                    UNITED STATES DISTRICT COURT JUDGE
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